w Offices
Meyers, Rode ell & Rosenbaum, P.A.
AM

uite
Riverdale, Mar ie nd 20737-1385
(301) 699-5800
EMail: bdept@mrrlaw.net

Case 23-10576-TMH Doc 250 Filed 06/08/23 Page 1 of 2

IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

Christmas Tree Shops, LLC Chapter 11
Case No. 23-10576 TMH
Debtor(s)

CHARLES COUNTY, MARYLAND'S
NOTICE OF APPEARANCE AND REQUEST
FOR NOTICES AND SERVICE OF PAPERS

Please take notice that Charles County, Maryland appears in this matter by their
undersigned counsel, in accordance with 11 U.S.C. § 1109(b) and Bankruptcy Rule 9010,
and requests, as provided in 11 U.S.C. §§ 102(1) and 342 and Bankruptcy Rules 2002 and
9007, that the undersigned attorneys be placed on the mailing matrix filed by the Debtor(s)
in this case and that all notices given or required to be given and all papers served or
required to be served in this case be given to and served on the undersigned attorneys at the
address set forth below:

Nicole C. Kenworthy
Meyers, Rodbell & Rosenbaum, P.A.
6801 Kenilworth Avenue, Suite 400
Riverdale, Maryland 20737-1385

Please take further notice that, in accordance with 11 U.S.C. § 1109(b), the foregoing
request includes not only the notices and papers referred to in the rules specified above, but
also, without limitation, orders and notices of any petition, pleading, complaint, hearing
application, motion, request or demand, whether formal or informal, written or oral, or
transmitted or conveyed by mail, delivery, telephone, telegraph, telex, telecopy or otherwise
which effect or seek to affect in any way any rights or interests of Charles County, Maryland.

Please take further notice that, as provided in Bankruptcy Rule 3017(a), Charles
County, Maryland requests that the undersigned be provided with copies of any and all
disclosure statements and plans or reorganization.

MEYERS, RODBELL & RO alli,

By: /s/Nicole C. Kenwarthy| |( LIL

Nicole C. Kenworthy

Federal Bar No. 19723

Meyers, Rodbell & Rosenbaum, P.A.
6801 Kenilworth Avenue, Suite 400
Riverdale, Maryland 20737-1385
301-699-5800

Law Offices
Meyers, Rodbell & Rosenbaum, P.A.
6801 Kenilworth Avenue
Suite 400
Riverdale, Maryland 20737-1385
(301) 699-5800
EMail: bdept@mrrlaw.net

Case 23-10576-TMH Doc 250 Filed 06/08/23 Page 2 of 2

CERTIFICATE OF SERVICE

[hereby certify that on this 8th day of June, 2023, a copy of the foregoing Charles
County, Maryland's Notice of Appearance and Request for Notice and Service of Papers was
mailed by first-class mail, postage prepaid to:

Evelyn J. Meltzer, Esquire

Troutman Pepper Hamilton Sanders, LLP
1313 N. Market Street, Hercules Plaza, Ste.
5100

Wilmington, DE 19899-

/s/ Nicole C. Kenwarthy A ol (Vr
—

Nicole C. Kenworthy

